           Case 1:21-cr-00119-CJN Document 88 Filed 06/22/22 Page 1 of 1 CO-290
 Notice of Appeal Criminal                                                                             Rev. 3/88



           United States District Court for the District of Columbia

 UNITED STATES OF AMERICA                                )
                                                         )
                         vs.                             )       Criminal No. 21-cr-119 (CJN)
                                                         )
  Garret Miller                                          )


                                          NOTICE OF APPEAL


Name and address of appellant:                           United States of America




Name and address of appellant’s attorney:                Elizabeth H. Danello, Assistant US Attorney
                                                         Office of the US Attorney for DC
                                                         601 D Street, NW Room 6.232
                                                         Washington, DC 20253

Offense:   18 USC sec. 231(a)(3), 1512(c)(2),2, 111(a)(1), 875(c), 1752(a)(1),(2),(3), 40 USC secs. 5104(e)(2)(D),(E),(G)

Concise statement of judgment or order, giving date, and any sentence:
     Order, entered on March 7, 2022, dismissing Count Three; Order, entered May 27,
     2022, denying motion for reconsideration


Name and institution where now confined, if not on bail: DC Jail (CTF Unit)


        I, the above named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.
     June 22, 2022
                                                        United States of America
 DATE                                                   APPELLANT
                                                        Elizabeth H. Danello
                                                         ATTORNEY FOR APPELLANT

GOVT. APPEAL, NO FEE           ✔
CJA, NO FEE
PAID USDC FEE
PAID USCA FEE
Does counsel wish to appear on appeal?                                YES              NO
Has counsel ordered transcripts?                                      YES              NO ✔
Is this appeal pursuant to the 1984 Sentencing Reform Act?            YES              NO ✔
